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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

 MINUTE ENTRY:
 AUGUST 29, 2023
 CHIEF DISTRICT JUDGE SHELLY D. DICK


 ALEX A.                                                                CIVIL ACTION

 VERSUS
                                                                        22-573-SDD-RLB
 JON BEL EDWARDS, ET AL.


         This matter came on this day for a continuation Hearing on Preliminary Injunction.

          PRESENT:     David J. Utter, Esq.
                       Nancy Rosenbloom, Esq.
                       Marisol J. Domingues-Ruiz, Esq.
                       Meghan K. Matt, Esq.
                       Susan M. Meyers, Esq.
                       Ashley Dalton, Esq.
                       Russell D. Barksdale, Esq.
                       Christopher James Murell, Esq.
                       Counsel for Plaintiffs

                       Connell Lee Archey, Esq.
                       Allena Brooke McCain
                       Lemuel E. Montgomery, III, Esq.
                       Carly H. Chinn, Esq.
                       Anna Morris, Esq.
                       Madaline King Rabalais, Esq.
                       Counsel for Office of Juvenile Justice

         Defendant moves for Rule 50 Judgment as a Matter of Law as to Plaintiffs’ case in

chief.

         Parties present argument.

         For oral reasons given, the Court grants the Motion, only as to the heat claim.

         The following persons are sworn and testify:

               Sandra Bryant
               Lt. Col. Travion Gordon
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     Exhibits filed.

     Court recesses until Wednesday, August 30, 2023, at 9:00 a.m.

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C: 13b;T-7 hrs.
S. Thompson/Reporter
